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            12
            13                                      UNITED STATES DISTRICT COURT

            14                                  NORTHERN DISTRICT OF CALIFORNIA

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            16       WHATSAPP INC., a Delaware corporation,          Case No. 4:19-cv-07123-PJH
                     and FACEBOOK, INC., a Delaware
            17       corporation,                                    NOTICE OF WITHDRAWAL OF COUNSEL
                                                                     OF TRAVIS LEBLANC FOR PLAINTIFFS
            18                                                       WHATSAPP INC. AND FACEBOOK, INC.
                                      Plaintiffs,
            19
                            v.
            20
                     NSO GROUP TECHNOLOGIES LIMITED
            21       and Q CYBER TECHNOLOGIES LIMITED,

            22                        Defendants.

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  COOLEY LLP
ATTO RNEY S AT LAW
                                                                                 NOTICE OF WITHDRAWAL OF COUNSEL
 SAN FRA NCI S CO
                                                                1.                              OF TRAVIS LEBLANC
                                                                                        CASE NO. 4:19-CV-07123-PJH
                           Case 4:19-cv-07123-PJH Document 148 Filed 09/25/20 Page 2 of 2



              1                  TO THE COURT, ALL PARTIES, AND ALL COUNSEL OF RECORD:

              2                  PLEASE TAKE NOTICE that Plaintiffs WhatsApp Inc. and Facebook, Inc. file this Notice of

              3      Withdrawal of Counsel to notify the Court that Travis LeBlanc has withdrawn as attorney of record

              4      for Plaintiffs. Davis Polk & Wardwell LLP and O’Melveny & Myers will continue to represent

              5      Plaintiffs.

              6      Dated: September 25, 2020                      COOLEY LLP
              7
              8                                                     /s/ Travis LeBlanc
                                                                    Travis LeBlanc (251097)
              9
                                                                    Attorneys for Plaintiffs
            10                                                      WHATSAPP INC. and FACEBOOK, INC.
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 SAN FRA NCI S CO
                                                                      2.                              OF TRAVIS LEBLANC
                                                                                              CASE NO. 4:19-CV-07123-PJH
